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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 BATTLE BORN INVESTMENTS
 COMPANY, LLC,

                        Plaintiff,                          Civil Action No. 24-00067

                        v.                                  Judge Beryl A. Howell

 U.S. DEPARTMENT OF JUSTICE,

                        Defendant.

                                               ORDER

       Upon consideration of defendant U.S. Department of Justice’s Motion for Summary

Judgment, ECF No. 15; plaintiff Battle Born Investments Company, LLC’s Cross Motion for

Summary Judgment, ECF Nos. 16, 17; the memoranda, declarations, and exhibits submitted in

support and opposition; and the entire record herein, for the reasons set forth in the

accompanying Memorandum Opinion, it is hereby:

       ORDERED that defendant’s Motion for Summary Judgment, ECF No. 15, is

GRANTED; it is further

       ORDERED that plaintiff’s Cross Motion for Summary Judgment, ECF Nos. 16, 17, is

DENIED; it is further

       ORDERED that judgment is entered in favor of defendant; and it is further

       ORDERED that the Clerk of the Court is directed to close this case.

       SO ORDERED.

       This is a final and appealable order.

       Date: December 30, 2024

                                                      __________________________
                                                      BERYL A. HOWELL
                                                      United States District Judge
